Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 206 Filed: 06/06/22 Page: 1 of 2 PAGEID #: 6380

                        IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DISTRICT

     MICHAEL GONIDAKIS, ET AL.                  :     CASE NO. 2:22-CV-773
                                                :
           PLAINTIFFS                           :     CHIEF JUDGE ALGENON L.
                                                :     MARBLEY
     VS.                                        :
                                                :     CIRCUIT JUDGE AMUL R.
     FRANK LAROSE,                              :     THAPAR
                                                :
           DEFENDANTS.                          :     JUDGE BENJAMIN J. BEATON

                                     NOTICE OF APPEAL

            In accordance with the provisions of 28 U.S.C. §1253, the Honorable Reverend

     Kenneth L. Simon, the Honorable Reverend Lewis W. Macklin, II and Helen Youngblood

     (hereinafter “the Simon Parties”) respectfully hereby give notice of appeal to the Supreme

     Court of the United States from the Order of the United States District Court for Southern

     District of Ohio entered May 12, 2022, ECF Docket #201, Denying the Simon Parties’

     Motion for a Preliminary Injunction, ECF Docket #197, and to alter or amend the District

     Court’s April 20, 2022 Order granting Plaintiffs’ second motion for preliminary injunction

     ECF Docket #196. The Order entered on May 12, 2022, by the District Court violates §§2

     and 3 of the Voting Rights Act of 1965, as amended 52 U.S.C. §10301, et seq.




                                                    /s/ Percy Squire_________________
                                                    Percy Squire (0022010)
                                                    Percy Squire Co., LLC
                                                    341 S. Third Street, Suite 10
                                                    Columbus, Ohio 43215
                                                    (614) 224-6528, Telephone
                                                    (614) 224-6529, Facsimile
                                                    psquire@sp-lawfirm.com
                                                    Attorney for Simon Party Plaintiffs
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 206 Filed: 06/06/22 Page: 2 of 2 PAGEID #: 6381




                                 CERTIFICATE OF SERVICE

            The undersigned hereby certifies that a copy of the foregoing was served by

     operation of the United States District Court, Southern District of Ohio electronic filing

     system, on June 6, 2022.


                                                  s/Percy Squire, Esq.
                                                  Percy Squire (0022010)
                                                  Attorney for Simon Party Plaintiffs




                                                 2
